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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 COMMODITY FUTURES TRADING
 COMMISSION,
                                                   Civil Action No. 23-11808
                        Plaintiff,

          v.                                             ORDER OF SPECIAL MASTER
                                                           SEALING TRANSCRIPTS
 TRADERS GLOBAL GROUP INC., et al.,

                        Defendants.


LINARES, J.

        This matter having been brought before the Special Master in connection with the pending

Motion for Sanctions (“Motion”) (ECF 172) filed by Defendants Traders Global Group Inc., a

New Jersey corporation, d/b/a “My Forex Funds,” Traders Global Group Inc., a Canadian business

organization, and Murtuza Kazmi (“Defendants”); and the Special Master having conducted an

evidentiary hearing on September 19, 2024 and September 20, 2024 and closing arguments on

December 18, 2024; and the Special Master having entered an Order on the record during the

December 18, 2024 hearing temporarily sealing the transcripts of the evidentiary hearings, all

materials used as exhibits during the evidentiary hearings, and the transcript of the closing

arguments; and Plaintiff Commodity Futures Trading Commission (“CFTC”) having requested an

extension of time to identify any portions of the transcripts and/or documents that it requests to be

redacted or sealed; and Defendants having no objection to this request; and for good cause shown;

        IT IS on this 20th day of January, 2025,

        ORDERED that the transcripts of the evidentiary hearings on September 19, 2024 and

September 20, 2024, all materials used as exhibits during the evidentiary hearings, and the




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transcript of the closing arguments on December 18, 2024 shall remain temporarily under seal

until further order of the Special Master; and it is

        FURTHER ORDERED that the time within which CFTC shall file a motion identifying

any portions of the transcripts and/or documents that it requests to be redacted or permanently

sealed is extended to January 31, 2025.

        SO ORDERED.

                                               __/s/ Jose L. Linares_______________________

                                               Hon. Jose L. Linares, U.S.D.J. (Ret.)




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